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                                   Exhibit A Page 1 of 2


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10
                                 UNITED STATES BANKRUPTCY COURT
11                                CENTRAL DISTRICT OF CALIFORNIA
                                       LOS ANGELES DIVISION
12
       In Re                                            Bk. No. 2:16-bk-16363-NB
13

14     Lake Mathews Mineral Properties, LTD.,           CHAPTER 7

15                 Debtor.                              PROPOSED ORDER ON MOTION FOR
                                                        ORDER AUTHORIZING EXAMINATION
16                                                      OF SHIRLEY S. SMITH, FORMER
17                                                      GENERALCOUNSEL FOR DEBTOR AND
                                                        CURRENT COUNSEL FOR PARTNER OF
18                                                      DEBTOR, JAMES HOLMES PURSUANT
                                                        TO FEDERAL RULE OF BANKRUPTCY
19                                                      PROCEDURE 2004
                                                /
20
                                                        (NO HEARING REQUIRED PURSUANT TO
21                                                      LBR 2004-1 AND LBR 9013-1)

22
               IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the relief sought as set
23

24     forth in the Motion for Order Authorizing Examination of Shirley Smith, Former General

25     Counsel for Debtor and Current Counsel for Partner (James Holmes) of Debtor (Lake Mathews

26     Mineral Properties, LTD), Pursuant to Federal Rule of Bankruptcy Procedure 2004 filed by
27
       Movant Pecas, LLC, on __________________ at Docket No.           , is granted and is hereby an
28
       order of the Court.
                                                    1
                                           EXHIBIT A
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                              Exhibit A Page 2 of 2


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